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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

DANIEL J. SULLIVAN,
Plaintiff, NOTICE OF REMOVAL
vs.
Civ. No.:
DICK’S SPORTING GOODS, INC.,

Defendant.

 

Pursuant to 28 U.S.C. §§ l441(a) and 1446, defendant Dick’s Sporting Goods, Inc.
(“defendant”), through its legal counsel, hereby respectfully files and serves this Notice of
Removal to remove this action from the Monroe County, New York, Supreme Court, based upon
the following:

l. On or about May 7, 2012, plaintiff Daniel J. Sullivan (“plaintiff”) filed a
Complaint in the Monroe County, New York, Supreme Court. The matter is captioned Sullivan
v. Dick’s Sporting Goods, Inc., Index No. 12/6142 (the “State Court Action”).

2. Pursuant to Rule 81(a)(3)(A) of the Local Rules of Civil Procedure, attached as
Exhibit “A” is an Index of all documents filed in the State Court Action.

3. A copy of plaintiff’s Summons and Complaint filed in the State Court Action is
attached as Exhibit “B”.

4. Upon information and belief, plaintiff is a resident of the State of New York.

5. According to plaintiff’s Complaint, plaintiff was allegedly involved in an incident

that took place on February 23, 2010 wherein plaintiff claims that he was using a Fitness Gear

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25-lbs resistance tube that was designed, engineered, built, developed, tested, marketed and sold
by defendant at which time he suffered an eye injury.

6. A copy of defendant’s Answer is attached as Exhibit “C.”

7. Attached as Exhibit “D” is a Demand for Specific Relief Requested pursuant to
CPLR §3017(c) defendant served upon plaintiff on or about July 20, 2012.

8. Less than 30 days have elapsed since the receipt of plaintiff’s response to
defendant’s Demand for Specific Relief on August 2], 2012. A copy of plaintiff’s response to
defendant’s various demands which states a claim for damages in the amount of $1,000,000.00 is
attached as Exhibit “E” (Ex. E, c|[20).

9. Defendant is incorporated in the State of Delaware, with its corporate
headquarters in Coraopolis, Pennsylvania.

10. The amount in controversy, as stated in plaintiff’s response to defendant’s various
demands, exceeds the jurisdiction of all lower Courts and is greater than $75,000.00 (Exhibit
“E”).

ll. Defendant is entitled to remove this action pursuant to 28 U.S.C. Section 1446(a)
and l446(b), since the District Court has original jurisdiction over the action pursuant to 28
U.S.C. Section l332(a), based upon the parties’ diversity of citizenship

12. Pursuant to 28 U.S.C. Section 1332(0)(1), a corporation shall be deemed to be a
citizen of any state by which it has been incorporated and of the state where it has its principle

place of business

WHEREFORE, defendant Dick’s Sporting Goods, Inc. hereby removes this action from
the State of New York, Supreme Court, County of Monroe, to the United States District Court

for the Western District of New York.

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Dated: Buffalo, New York

To:

September l l, 2012

Sheldon W. Boyce, Jr., Esq.

BRENNA, BRENNA & BOYCE, PLLC
Attorneys for Plat'ntsz

31 East Main Street, Suite 2000
Rochester, New York 14614

(585) 454-2000

BURDEN, GULISANO & HICKEY, LLC

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Jonathan `S/ erckey\j

Attomeys for Defendam Dick' s
Sporting Goods, Inc.

605 Brisbane Building

403 Main Street

Buffalo, New Yorl< 14202

(716) 849-6800

